         Case 1:19-cv-00653-WFK-SMG Document 1-1 Filed 02/01/19 Page 1 of 13 PageID #: 6




                 SUPREME COURT OF THE ST1-TE OF NEW YORK· .                                 .·           ~ /,
                 COUNTY OF KINGS                          ··                                Index No.:~
                                                                                                      J;r / ( ~      .
                 ___________________ ·__ - - - - - - - - - - - - - - - - - - - - ~ - - X Purchased: r 2 - 2 7 -r ~
                 ARYf!-H COHEN,                                                                                ..
                                                                                       Plaintiff designates .·
                                                                Plaintiff;             Kings County
                                                                                       as the place of trial

                                        - agaJnst -                                     The venue basis is ..
                                                                                     .. Defendant's Residence

                AMERICAN ATJ!LINES, INC.,                                              SUMMONS
                AMERICAN AIRLINES GROUP, INC.,
                JOHN DOES
                        . 1-5 and JANE .DOES 1-5
                                                                                      Plaintiff resides in
                                                               Defendants.
                                                                                     · Kings County


                                -             '

                  To the above named Defendant(s)                              x
                                          .                                                       .

1'   .
                        YOU ARE HEREBY SUMMONED to answer the complaint in this action and to serve
                 a copy ofyour ansi ver, ·Or, if the complaint is not served 111ith this summons, to serve a notice of
                                    1




                 appearance, on the Plaintiff within 20 days g.fter the service of this summons, exclusive of the
                 day ofservice (or H 1ithin 30 days after the service is complete if this summons is not personally
                delivered to you within the State ofNew York),· and in case ofyour failure to appear or answer,
                judgment will be taken against you by default for the relief demanded in the complaint.

                Dated: _New York, New York December 27, 2018




                                                       ARYEHCOHEN
                                                       Pfaintiff Pro Se
                                                      P.O. Box 20112
                                                      New York, NY 10001
                                                      (347)" 474-9579


               Defendant(s) Address:·
               AMERICAN AIRLINES, INC.                       AMERICAN AIRLINES
                                                             GROUP, INC
               clo CT Corporation System                     4333 Amon Carter Blvd
               111 Eighth Avenue                             Fort Worth, Texas 76155
               New York, New York 10011
     Case 1:19-cv-00653-WFK-SMG Document 1-1 Filed 02/01/19
                                                        .•. Page 2 of 13 PageID #: 7
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             SUPREME COURT OF THE STATE OF NEW YORK
             COUNTY OF KINGS
              - ..:. - - - - - - - - -   - - - -   - - - '7 - - - ._ - - - - - - - - -   ~   - ·- - -   x
             ARYEH COHEN,
                                                                                                            Index No.
                                                                         Plaintiff,
                                                                                                            VERIFIED .
                                                                                                            CO:MPLAINT
                                            - against -


             AMERICAN AIRLINES, INC.,
             Al\IIERJCAN AIRLINES GROUP, INC.,
             JOHN DOES 1-5 and JANE DOES 1-5


                                                                        · Defendants.
             _________________.______________ .:, ____________________________________ x
                      Plaintiff, Pro Se, complaining of the Defendants herem, respectfully sets

             forth and alleges .as follows:

                        1.       Upon information and belief, at all times hereinafter mentioned, .

             the Defendant, AMERJCAN AIRLINES, INC., is a Delaware: Co1:J'oration

             licensed to business in the County, City, and State of New York.

                       2.        ·Upon information apd belief, at all times hereinafter m.entioned,

             the   Defe~dant,      AN.IERICAN AIRLINES, GROUP, INC., is a Delaware

             Corporatio~        licensed to business in the County, City, and State of New York.

                   ·· · 3.       Defendants JOHN DOES                     i-5 are natural persons, the identity of
             whom ·are currently unknown, other than the fact that they are emplqyees of
Case 1:19-cv-00653-WFK-SMG Document 1-1 Filed 02/01/19 Page 3 of 13 PageID #: 8
   ~   .




           ·Defendants f\:MERlCAN AIR.bINES, INC. and AJ\1ERICAN AIRLINES,

           GROUP, who may be· liabl~ to the Plaintiff in whole or in part for the damages

           set forth herein

                   4.       Defendants JANE DOES 1-5 are natural persons, the identity o.f

           whom are currently unknown, 9ther than the fact that they are employees of

           Defendants.A~RICAN           AIRLINES, INC. and AMERICAN AIRLINES,

           GROUP, who may be. liable to the Plaintiff in whole or in part for the damages
                        .                     .

           set forth herein·.

                            AS AND FOR A FIRST CAUSE OF ACTION

                   5.       That on De~ember 28, 2015 the Plaintiff was a passenger on an

           airplane designated with flight Number 49 by Defendants A11ERICAN

           AIRLINES, INC. and A11ERICAN AIRLINES, GROUP,                    (Hereina~er


           collective,ly referred to as "American Airlines" or "Defendants") which it was

           operating without stops or interruptions b~tween Charles De Gaulle (C.D G) and.

           pallas Fort Worth (DFW). ·

                   6.       Said flight was   conducte~   on an aircraft owne4, leased, operated,

           staffed or otherwise controlled by Defendants American Airlines.

                   7.       On December 28, 2015, Defendant American Airlines employed a

           flight crew purportedly responsible for the safe and secure operation of su1?ject
Case
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       1:19-cv-00653-WFK-SMG Document 1-1 Filed 02/01/19 Page 4 of 13 PageID #: 9




       flight, as w~ll as the safety and ·wdl-being of its passengers aboard the subject

       flight.

                 8.     That Plaintiff was a passenger designated in Seat 41 ofthe aforesaid

       three cabin flight from CDG to DFW-.

                 9.     That subject flight   ~as   significantly   delayed~


                 10.    That upon ·boarding subject flight Plaintiff was attempting to

       arrange alternate plans for a connectiqn in DFW.

                 11.    That.upon boarding there was a "greeter" by the doorway, a. flight

       attendant known as John Doe 1.

                 12.    That upon heading towards his seat on the aircraft Plaintiff was
                                .                                                  .
       startled ~y a maniacal flight attendant charging from ·the rear, yelling apd poking



                 13. · That said flight attendant; .J ohn Doe· 1, began yelling at. Plaintiff

       ~'you   didn'.t acknowledge me when you boarded the plane ... you didn't say hello

       to me ... !"

                 14.    That in the midst of his fit of rag~ · Defendant John.Doe. I began

       swinging his arms and hands in a maniacal fashion.

                 15.    That in his maniacal fit and. without regard . to anyone around

       Defendant, John Doe 1, struck Plaintiff several times around the head,      n~. ck   and

       shoulder area.
     Case 1:19-cv-00653-WFK-SMG Document 1-1 Filed 02/01/19 Page 5 of 13 PageID #: 10
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11   •




                      16.     That as a· res1:1lt of being struck      s.evera~   times Plaintiff was caus·e d

            to sustain serious injuries.

                      1·7.    That the whole while Plaintiff was being struck Defendant's John

            Does 1-5 and Jane Do.es 1-5 were employees of American Airlines.

                      18.     That the whole while Defendant's John Does.1-5 and Jane Does 1-

            5 were in their capacity as American Airlines employees working on the subject

            flight as flight attendant's and/or pilots/co-pilots ·or othe!wise.

                      19.    · That   ~he   whole while Plaintiff was pleading with them to get this

            maniacal American Airlines flight attendant to stop his tirade.

                      20.     That said employees did · not intervene, not the · captain nor the ·

            purser,   w~th   the maniacal .flight .attendants tirade.

                      21.     The     Plaintiff was         severely     injured     when the       aforesaid

            empfoyee/agent · of the. Defendants AMERJCAN AIRLINES, INC . .and

            AMERICAN AIRLINES, GROUP, came into violent contact with Plaintiff due

            to the negligence of Defendants and its employee agents aforesaid.

                      22.     The Defendants, their agents, servants, and/or employees did

            extend.to the Plaintiff an implied and/or expressed warranty that the premises was

            safe and in good condition for the· purposes intended with said express and/or
                                                        .   .                                               .


            implied warranties being untrue and which did cause injuries to the Plaint~ff who

            did rely upon ·said implied andior expressed warranties.
Case 1:19-cv-00653-WFK-SMG Document 1-1 Filed 02/01/19 Page 6 of 13 PageID #: 11




                23.    That said' accident and the injuries to the Plaintiff resulting·

        therefrom were cal:lsed solely and wholly by .the negligence, carelessness,

        recklessriess and/or other lack of due care of the Defendants,· its agents, se~ants ·
                                   .      .
        and/or employees witho~t ~y negligence on the part of the Plaintiff there~o.

               24.     The · Defendants, their agents, servants and/or employees were

       negligent; carele~s and reckle"s~ in their failure to properly operate, control and

       contain the aforesaid flight attendant so that it came intS' violent contact with the

       Plaintiff; in failing to provide a safe aircraft free from out of control flight

       attendant(s) so as to ·avoid· it from coming into contact with passengers and ·in

       failing to warn passengers and more particularly of the potentially dangerous

       flight attendant. In failing to provide proper     med~cal   attention to the .Plaintiff; in

       negligently hiring aforesaid flight attendant; in violating applicable policies,

       protocols, laws, rules, and regulations, including but not limited to 14. CFR §

       91.105 (a)(l), 14 C.F.R. § 91 and 14       C.F.~.;   and in otherwise being rte.gligent,

       careless, at?-d reckless.

               25.    As a direct      and pr<?ximate   resu~t of the negligence, carelessness

       and/or recklessness of Defendants, Plaintiff was injured.

               26.    As a direct and proximate result. of the negligence, carelessness

       and/or recklessness·of Defendants, Plaintiff was       s~riously   injured.        , .
      Case.,. 1:19-cv-00653-WFK-SMG Document 1-1 Filed 02/01/19 Page 7 of 13 PageID #: 12
,.,




                       27:    As a direct and proximate result of the negligence, carelessness

              ~d/or recklessness -qf Defendants, Plaintiff was permanently irijilred.

                       2 8.   As a direct and proxim.ate result of the negligence, carelessness

              and/or recklessness of Defendants, Plaintiff suffered great pain, agony and mental
                                                 .                       .             .


            · ang~ish,   and in the future shall continue to suffer from same.
                    · 29.     As · a direct and proximate result of the negligence, carelessness

            . and/or recklessness of Defendants, .Plaintiff was prevented from engaging all or a

             port~on    of his usual c~~mrse. of conduct and in the future shall continue to be

              deprived of same.

                       30 .   As a direct and proximate result of the negligence; carelessness

             and/or recklessness of Defendants, Plaintiff suffered losses and in the future shall

             continue the same.

                       3 1.   That. by reas.on of the foregoing the Pla~tiff suffered injuries to his

             body and limbs, suffered shock to his nerves and nervous "system, accompanied

             by physical pain and mental anguish and expend sums of money therefor, and will

             be so compelled in the future, and upon information and         ~elief,   the Plaintiff has "

             been perm.anently injured.

                       32.    Plaintiff demands judgment against defendant in excess of the

             jurisdiction of all lower courts in an amount to be determined by a trier 9f fact,
Case 1:19-cv-00653-WFK-SMG Document 1-1 Filed 02/01/19 Page 8 of 13 PageID #: 13




        together.with interest, costs, and disbur:sements of this action and for any further

       relief ~hat this court may deem just and prop~r.    .

                      AS AND FOR.A SECOND CAUSE OF ACTION.

               33.   ·Plaintiff restates and re-alleges each and every allegation contained

       in the preceding paragraphs as. if fully set forth herein

               34~   "At all times relevant. herein, AMERJCAN AIRLINES was an

       employer of John Does 1-5 and Jane Does 1-5. At all times relevant herein,

      · A11ERICAN AIRLINES negligently hired Defendant JOHN DOE I.

               35.    By - reasons of the foregoing, the Defendant AMERICAN

       AIRLINES is liable for the torts committed against Plaintiff by Defendants John

       and Jane Does 1-5. In particular JOHN DOE L

                     · AS AND FOR THE THIRD CAUSE OF ACTION

               36.    Plaintiff restates and re-alleges each and every allegation contained

       in the preceding paragraphs as if fully set forth herein.

               37.    Defendant JOHN DOE 1 was a "greeter'; and flight' attendant

       employed by AlVIBRICAN·AIRLINES.

               38.    While aboard subject flight, Defendant JOHN DOE 1 negligently,

       carelessly and recklessly swung his arms in a maniacal and wilq fashion and strike

       Plaintiff about the .head and neck.
Case 1:19-cv-00653-WFK-SMG Document 1-1 Filed 02/01/19 Page 9 of 13 PageID #: 14




                 3 9.     ~atd    incident ·was caused by the negligence, carelessness,

        reckles~ness     and/or other lack 9f due care on the part of Defendant JOHN DOE. l,
                                                                                                    "'-


        without any negligence on the part of the plaintiff.herein.

                 40.     As a direct anq proximate result of the negligence, carelessness

        and/or recklessness of Defendants, Plaintiff was injured.

                 41. . As a direct and l?roximate result of the .negligence, carelessness

        and/or recklessness of Defendants, Plaintiff was seriously injured. As a direct and

        proximate result of the negligence, carelessness and/or recklessness of

        Defendants, Plaintiff was permanently injured.

                  42.    As   ~   direct and proximate result of the   n~gligence,   carelessness

        ~nd/or   recklessness of Defendants, Pl~intiff suffered great pain, agony and.mental

        anguish, ·~d in the future shall continue to suffer from same.

                  43 .   As a direct and proximate result of the · negligence, carelessness

        and/or recklessness of Defendants, Plaintiff was prevented from engaging all or a

        portion of his usual course of conduct and in the future shall continue to be

        deprived of same.

                  44.    As a direct and proximate result of the negligence, carelessness ·

        and/or. recklessness of Defendants, Plaintiff suffered losses
                                                                 . . and in the future shall
        continue the same.
Case 1:19-cv-00653-WFK-SMG Document 1-1 Filed 02/01/19 Page 10 of 13 PageID #: 15



                                      .                                        .      .
                45.    That by .reason of.the for~going the Plaintiff suffered. injuries to .his
                                                                         .                    .
         body and li.inbs, :suffere~ :shock to ·his .nerves and nervous system, accompanied

         by physical pain and mental anguish and expend sums of money therefor, and will

       . ·be so compelled in the future, and upon inform.ation and belief, the Plaintiff.has

        been permanently injured.

                46.    Plaintiff demands judgment against defendant in excess ·of the

        jurisdiction of all lower courts in art amount to ·be determined by a trier of fact;

        together with interest, costs, and   disburs~ments   of this action and for any further

        relief that this court may deem just and proper.

                       AS AND FOR THE FOURTH CAUSE OF ACTION

                4 7.   Plaintiff restates and re-alleges each and every allegation contained

        in the preceding paragraphs as if fully set fo~h herein.

                48.    While traveling and being in his·capacity as a flight attendant aboard

        American·Airlines flight 49 on December 28, 2.018, Defendant JOHN ·J:?QE I was·

        acting as an agent, servant employee, contractor, or otherwise in service to, or for

        the benefit of, befendan~s Al\IIERICAN AIRLINES and/or JOHN DOES 2-5

        and/or JANE DOES 1-5 .

              . 49.    At .the ~ime and place afor~said, Defendant JQHN DOE I was acting

        with the full knowledge·, permission, and/or consent of Defendants.
Case 1:19-cv-00653-WFK-SMG Document 1-1 Filed 02/01/19 Page 11 of 13 PageID #: 16




                  50.    At the time and place aforesaid, Defendant JOHN DOE ·l was ~cting

        wlthi~ the course and scope ofhis. employment with Defendants.

                  51.    By reason of the aforesaid negligence, carelessness and/or

        recklessness of Defendant JOHN DOE 1, Defendants ANIERJCAN AIRLINES

        are vicariously liable for the injuries suffered by the Plaintiff as previously alleged

        herein.

                  52.    Plaintiff demands judgment against defendant in .excess of the

        juri.sdiction of all. lower courts in an amount to be determined by a trier of fact,

        together with interest, costs, and disbursements of this action and for any further

        relief that this court m~y deem just and proper.

                  5 3.   That by reason of the   for~going   the   P~aintiff has   beeri dam.aged

        in an amount in excess of all jurisdictional limits of all lower courts of the

        State of New York but not in an amount more than SEVENTY-FOUR

        THOUSAND and NINE HUNDRED AND NINETY-NINE ($74,999.00)

        AND N0/100 DOLLARS.




                                                                                            ..
          Case 1:19-cv-00653-WFK-SMG Document 1-1 Filed 02/01/19 Page 12 of 13 PageID #: 17
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                             WHEREFORE PLAINTIFF demands judgm~nt against the Defendants in

                    an amount in excess ·of all jurisdictional limits of all lower courts; but ·not in an

                   · amount more than SEVENTY-FOUR THOUSAND and NINE HUNDRED AND

                    NINETY-NINE ($74.,999.00) ANJ? N0/100 DOLLARS, all together with the

                    costs, ·interests and disbursements of this ·action.


                    DATED: New York, New York December 27, 2018


                    ArYirJ .Cvhc1
                    Plaintiff Pro Se
                    P.O ..Box 20112
                    New York, New Yo_rk 10001
                    34 7-A 74-94 79.




                                                                                    " )

                 ·    JOSEPHINE BOURNE
                  Notary Public, State of New York
                         No. 04806325374
                     Qualified in Kings County
               · Commission Expires May 26,.2019




                                                                                                 •
                                   Case 1:19-cv-00653-WFK-SMG Document 1-1 Filed 02/01/19 Page 13 of 13 PageID #: 18

>EPARTMENT                 ·. ·.1f·~· ·l.'.1h 1 u~.l~i•fJ•.•nJ 1 flJ·l'·.·UJ1 1 ilfl1.i·1 1.11f/JffJ _:.
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 Albany, NY 12231-0001


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